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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

              Respondent,                                 HONORABLE PAUL L. MALONEY

 v.                                                       Case No. 1:07-cr-213-05

 SHAWN B. ECHOLS,

            Movant.
 _________________________________/


                ORDER GRANTING MOTION FOR EXTENSION OF TIME


              This matter is before the Court on the movant's motion for extension of time (Dkt.

#325). The Court being fully advised in the premises:

              IT IS HEREBY ORDERED that the motion for extension of time (Dkt. #325) is

GRANTED. The deadline for movant to file his reply is extended to April 13, 2010.



Date: March 25, 2010                                       /s/ Paul L. Maloney
                                                          Paul L. Maloney
                                                          Chief United States District Judge
